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                                        ORDERED.

     Dated: July 29, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

 In re                                              )
                                                    )
 Hertenstein, Carol A.                              )        Case No. 6:19-bk-01933-CCJ
                                                    )        Chapter 7
            Debtor(s)                               )
                                                    )

 ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL REAL
         ESTATE SERVICES AND CENTURY 21 CARIOTI TO PROCURE
     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §327, 328 AND 330

               Upon the Notice and Application of Dennis Kennedy, the trustee in the above-

captioned case (“Trustee”), to Retain BK Global Real Estate Services and Century 21 Carioti to

Procure Consented Public Sale pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”) [Doc. No.

28], the Court concludes that BK Global Real Estate Services and Century 21 CARIOTI do not hold

or represent any interest adverse to the estate and are disinterested persons within the meaning of

Section 101(14) of the Bankruptcy Code. The Court further concludes that BK Global Real Estate

Services and Century 21 CARIOTI are qualified to represent the Trustee and that the Court’s

authorization of their employment is in the best interest of the estate.
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       Accordingly, it is

       ORDERED the Application is granted and the Court approves the retention of BK Global Real

Estate Services and Century 21 CARIOTI to sell real property located at 11024 Windchime Cir

Clermont, FL 34711. All compensation authorized is subject to provisions of Section 330 of the

Bankruptcy Code.



Trustee Dennis D. Kennedy is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within 3 days of entry of the order.




                                                  2
